
125 Cal.App.2d 383 (1954)
THE PEOPLE, Respondent,
v.
SISTO RAMOS, Appellant.
Crim No. 5129. 
California Court of Appeals. Second Dist., Div. Three.  
May 20, 1954.
 Sisto Ramos, in pro. per., for Appellant.
 Edmund G. Brown, Attorney General, and William E. James, Deputy Attorney General, for Respondent.
 VALLEE, J.
 Defendant was convicted of having committed the infamous crime against nature. (Pen. Code,  286.) He appeals from the judgment. Defendant did not testify or offer any evidence in his behalf.
 [1] The only point made is that there was no evidence of penetration. Any penetration, however slight, is sufficient to complete the crime. (Pen. Code,  287.) Recitation of the nauseating details would serve no purpose. Suffice it to say that a police officer who witnessed the act testified to facts from which the trial judge could reasonably conclude that there had been penetration.
 Affirmed.
 Shinn, P. J., and Wood (Parker), J., concurred.
